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  8                        UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
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 11   SECURITIES AND EXCHANGE                      Case No. 2:21-cv-02927-CAS-PDx
      COMMISSION,
 12                                                ORDER APPROVING
                   Plaintiff,                      SETTLEMENT WITH BREAKOUT
 13                                                SPE LLC, DUNCAN DAVIS AND
            v.                                     BRANDON LABRUM, AND FOR
 14                                                RELATED RELIEF
      ZACHARY J. HORWITZ; and 1inMM
 15   CAPITAL, LLC,
 16                Defendants.
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 18         Upon consideration of the Motion of Receiver Michele Vives for Order
 19   Approving Settlement with Breakout SPE LLC, Duncan Davis and Brandon Labrum,
 20   and for Related Relief, dated November 13, 2023 (the “Motion”), the Court, having
 21   jurisdiction to hear and determine the Motion, has reviewed the Motion and
 22   accompanying memorandum of points and authorities and declarations in support
 23   thereof, considered the exhibits to the Motion and the objection(s) to the Motion, if
 24   any, and concluded that all parties in interest have due and sufficient notice of the
 25   Motion; after due deliberation and consideration of the Motion, and there being good
 26   cause to grant the relief provided herein; it is, pursuant to the Court’s power to
 27   supervise equity receiverships and all other powers in that behalf so enabling, hereby
 28   ORDERED:
                                                                     Case No. 2:21-cv-02927-CAS-PD
                                                            ORDER APPROVING SETTLEMENT WITH
                                                  THE BREAKOUT PARTIES AND FOR RELATED RELIEF
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  1         1.     The Motion is GRANTED. Capitalized terms not defined herein have
  2   the meanings ascribed to them in the Motion or the Settlement Agreement.
  3         2.     Notice of the Motion is sufficient under the circumstances and satisfies
  4   due process, and any further notice otherwise required by Local Rule 66-7 is waived.
  5         3.     The terms of the Settlement with Breakout SPE LLC, Duncan Davis
  6   and Brandon Labrum memorialized in the Settlement Agreement are fair and
  7   equitable, including without limitation, the Bar Order and the Administrative
  8   Claims, and the Settlement Agreement and its terms are therefore APPROVED. For
  9   the avoidance of doubt, the Receiver Released Claims (as that term is defined in
 10   Paragraph 6 of the Settlement Agreement) exclude any claims or causes of action
 11   that the Receivership Estate may have against any investor in or lender to 1inMM
 12   (through Breakout SPE LLC or otherwise) other than Brandon Labrum or Duncan
 13   Davis.
 14         4.     The Court hereby PERMANANTLY BARS, RESTRAINS and
 15   ENJOINS all persons and entities (except any governmental unit, as that term is
 16   defined by 11 U.S.C. § 101(27)), as well as their respective heirs, successors,
 17   assigns, officers, directors, representatives, agents and attorneys, from commencing
 18   or continuing any civil action, administrative proceeding, arbitration or other
 19   adversarial proceeding against Breakout SPE LLC, including all of its parents,
 20   subsidiaries, affiliates, or related entities, and Brandon Labrum and/or Duncan
 21   Davis, as well as their respective heirs, successors and assigns, asserting any claim
 22   or cause of action, whether directly or derivatively, arising out of, in connection
 23   with or relating in any way to: (1) the 1inMM Ponzi Scheme; (2) acts or omissions
 24   relating to Breakout SPE LLC; (3) acts or omissions relating to the 1inMM Ponzi
 25   Scheme or the 1inMM Defendants; (4) acts or omissions relating to any investment,
 26   loan or transfer of money to JJMT Capital, LLC or 1inMM Capital, LLC and/or
 27   repayment or lack of repayment by JJMT Capital, LLC or the 1inMM Defendants
 28   (in whatever form and however denominated, a “1inMM Claim”). All 1inMM
                                                                      Case No. 2:21-cv-02927-CAS-PD
                                                             ORDER APPROVING SETTLEMENT WITH
                                                   THE BREAKOUT PARTIES AND FOR RELATED RELIEF
                                               2
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  1   Claims are hereby channeled into the Receivership Estate’s claims distribution
  2   process that the Court will establish by separate order. Provided, however, this order
  3   does not bar, restrain or enjoin the Receiver from asserting any claim or cause of
  4   action.
  5         5.     The Receiver is AUTHORIZED to take such further actions as may be
  6   necessary to consummate the transactions in the Settlement Agreement, including
  7   without limitation, paying the Administrative Claim to the holder thereof in the
  8   amount specified in the Settlement Agreement.
  9         6.     The Court retains exclusive jurisdiction to hear and determine any
 10   disputes arising out of or relating to the settlement approved by this order.
 11    Dated: November 27, 2023
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 13                                              United States District Judge
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                                                              ORDER APPROVING SETTLEMENT WITH
                                                    THE BREAKOUT PARTIES AND FOR RELATED RELIEF
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